Case 1:14-ml-02570-RLY-TAB Document 22547-2 Filed 08/16/22 Page 1 of 1 PageID #:
                                  132902


                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION



  In Re: COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                                 MDL No. 2570


  This Document Relates to:

  Sarah E. Windley 1:22-cv-06771-RLY-TAB



                                          [PROPOSED] ORDER
        Upon consideration of Plaintiff’s Motion to Amend Short Form Complaint, it is found that good

 cause is shown. Therefore, said motion is GRANTED. Plaintiff is ORDERED to file the Amended Short

 Form Complaint within seven (7) days of the date of this order.

 So ordered this ____ day of August, 2022.




                                                     ____________________________
                                                     Tim A. Baker, USMJ
